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Defendant Year Jurisdiction Charges Subject of Leak | Detained Conditions of Offenses of Sentence
Charged Pending Release Conviction
Trial?
Lawrence A. Franklin | 2005 EDVA —Conspiracy to Classified military No $100,000 unsecured —Conspiracy to —Total term of
communicate information bond communicate 151 months in
05-cr-00225 . . . .
05-cr-00421 national defense regarding U.S. national defense | prison,
information, 18 policy toward Iran —Conditions of release information, 18 followed by 3
U.S.C. § 793(g) disclosed to pro- unknown, unavailable U.S.C. § 793(g) | years
Israel lobbyists and on Pacer supervised
—Communication an Israeli diplomat —Conspiracy to | release
of national defense communicate
information, 18 classified —$10,000 fine
U.S.C. § 793(d) (3 information, 18
counts) U.S.C. § 371 —Continued on
current bond
—Conspiracy to —Unlawful conditions to
communicate retention of self-surrender,
classified national defense | with delayed
information, 18 information, 18 reporting date
U.S.C. § 371 U.S.C. § 793(e)
—Unlawful
retention of
national defense

 

 

 

information, 18
U.S.C. § 793(e)

 

 

 

 

 

 

 
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Defendant Year Jurisdiction Charges Subject of Leak | Detained Conditions of Offenses of Sentence
Charged Pending Release Conviction
Trial?
Shamai K. Leibowitz 2009 MD —Disclosure of Leaked classified No —Report on a regular —Disclosure of —20 months in
09-cr-00632 classified FBI documents to a basis to Pretrial Services | classified prison,
information, 18 blogger Supervision information, 18 followed by 3
U.S.C. § 798(a)(3) U.S.C. § 798(a) years
—Surrender any supervised
passports and obtain no release

 

 

 

 

 

 

new passports

—Travel restricted to
Washington, DC
metropolitan area and
get prior approval for
further travel from
Pretrial

—Do not move without
Pretrial permission

 

 

 

 
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Defendant Year Jurisdiction Charges Subject of Leak | Detained Conditions of Offenses of Sentence
Charged Pending Release Conviction
Trial?
Jeffrey Sterling 2010 EDVA —Unauthorized Classified No —Released on personal All counts —42 months in
10-cr-00485 disclosure of information recognizance, unsecured | except one prison as to
national defense regarding efforts to bond of $10,000 each count, all
information, 18 sabotage Iranian consigned by third party to run
U.S.C. § 793(d) (3. | nuclear research custodian concurrent
counts) divulged to NYT
reporter James —Placed in custody of —2 years

—Unauthorized Risen third party custodian supervised
disclosure of release
national defense —Actively seek
information, 18 employment

 

 

 

U.S.C. § 793(e) (3
counts)

—Unlawful
retention of
national defense

information, 18
U.S.C. § 793(e)

—Mail fraud, 18
U.S.C. § 1341

 

 

 

—Do not depart
Washington, DC
metropolitan area
without preapproval by
Pretrial or Court

 

 

 

 
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Defendant Year Jurisdiction Charges Subject of Leak | Detained Conditions of Offenses of Sentence
Charged Pending Release Conviction
Trial?
—Unauthorized —Avoid all contact and
conveyance of communication with
government alleged victims or
property, 18 potential witnesses
U.S.C. § 641 unless in presence of
defense counsel
—Obstruction of

 

 

 

justice, 18 U.S.C.
§ 1512(c)(1)

 

 

 

—Report to Pretrial

—Refrain from
possessing a firearm

—Refrain from excessive
use of alcohol

—Undergo psychiatric
treatment and take all
prescribed medications
and waive privacy rights
to mental health records

—Surrender passport and
obtain no new passport

—Notify any employer of
being under indictment
and the charges involved

 

 

 

 
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Defendant Year Jurisdiction Charges Subject of Leak | Detained Conditions of Offenses of Sentence
Charged Pending Release Conviction
Trial?
Stephen J. Kim 2010 DC —Unauthorized Shared classified No —Bond in the amount of | —Unauthorized —13 months in
. disclosure of information from an $100,000 secured by disclosure of prison,
10-cr-00225 . a. .
national defense intelligence report real property national defense | followed by
information, 18 on North Korea information, 18 12 months of
U.S.C. § 793(d) with Fox News —Report weekly by U.S.C. § 793(d) | supervised
reporter phone to Pretrial release

 

 

 

—False statements,

18 U.S.C. §
1001(a)(2)

 

 

 

—Shall not travel more
than 25 miles outside the
Washington, DC
metropolitan area
without pre-approval of
Pretrial, except can
travel to California for
work or to visit his son
with advance written
notice to pretrial and
government

—Any rearrest on
probable cause for any
subsequent offense may
result in revoking
present bond and being
held without bail

 

 

 

 
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—Unauthorized
removal of a
public record, 18
U.S.C. § 2071 (a)

 

 

 

may leave only for
appointments with
doctors, lawyers, or
Pretrial Services, or to
attend religious services

—Prohibited from
entering or being in
immediate vicinity of
Union Station, any other
bus or train station that
provides service outside
of the Washington
metropolitan area, or
any airport

—May not travel further
than 25 miles from
Washington, DC for any
reason

—Meet with Pretrial once
a week and call officer

at designated time every
day

—Surrender passport and
obtain no new passport

 

 

Defendant Year Jurisdiction Charges Subject of Leak | Detained Conditions of Offenses of Sentence
Charged Pending Release Conviction
Trial?
James Hitselberger 2012 DC —Unlawful Classified materials | No —Release to high —Unauthorized —Time served
12-cr-00231 retention of concerning Bahrain | (released intensity supervision removal and
national defense to the Hoover after four program with GPS retention of —No additional
information, 18 Institution and a half location monitoring classified supervision or
U.S.C. § 793(e) months in documents, 18 supervised
custody) —To reside with aunt, U.S.C. § 1924 release shall

be imposed

—$250 fine

 

 
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Defendant Year Jurisdiction Charges Subject of Leak | Detained Conditions of Offenses of Sentence
Charged Pending Release Conviction
Trial?
John Kiriakou 2012 EDVA —Disclosure of Disclosing identity No —Released on personal —Disclosure of —30 months in
12-cr-00127 classified of CIA officials recognizance, $250,000 | classified prison,

information involved in unsecured bond information followed by 3
identifying a interrogation abuse identifying a years
covert agent, 50 to journalists —Bond to be signed by covert agent, 50 | supervised
U.S.C. § 421(a) wife and brother within U.S.C. § 421(a) release

 

 

 

—Transmission of
national defense
information, 18
U.S.C. § 793(d) 3
counts)

—False statements,
18 U.S.C. §
1001(a)(1)

 

 

 

5 days

—Do not depart
Washington, DC
metropolitan area
without prior approval
of Pretrial or the Court

—Prior approval needed
from Pretrial to travel
outside Metro area

—Do not move from
residence without prior
approval of Pretrial or
the court

—Avoid all contact with
any witnesses

—Report on a regular
basis to Pretrial

—Surrender any passport
and obtain no new

passport

 

 

 

 
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Defendant Year Jurisdiction Charges Subject of Leak | Detained Conditions of Offenses of Sentence
Charged Pending Release Conviction
Trial?

Donald Sachtleben 2012 SDIN —Unauthorized Classified No —Supervision by Pretrial | —Unauthorized —43 months in
12-cr-00127 disclosure of information disclosure of prison as to
13-cr-00200 national defense regarding foiled —Continue or actively national defense | Counts One

information, 18 bomb plot in seek employment information, 18 and Two, to

U.S.C. § 793(d) Yemen to the AP U.S.C. § 793(d) run
—Surrender any passport consecutive

—Unauthorized and obtain no new —Unauthorized with 97-month

possession and passport possession and sentence

retention of retention of imposed in

national defense —Travel restricted to national defense | child

information, 18 SDIN unless pre- information, 18 pomography

U.S.C. § 793(e) approved by Pretrial U.S.C. § 793(e) | case

—Distributing child —Avoid all contact with —Distributing Total of 7

pornography, 18 any co-defendants or child years

US.C. § potential co-defendants pornography, 18 | Supervised

2256(2)(A) —Do not possess a ms6() A) release

—Possession of firearm

child pornography, —Possession of

18 USC. § —Do not use alcohol and child

2252(a)(4)(B) submit to testing pornography, 18

 

 

 

 

 

 

—Home detention with
location monitoring—
may leave only for
employment, education,
religious services,
medical, substance
abuse, or mental health
treatment, attorney
visits, court
appearances, or other
pre-approved by Pretrial

 

US.C. §
2252(a)(4)(B)

 

 

 
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Defendant

Year
Charged

Jurisdiction

Charges

Subject of Leak

Detained
Pending
Trial?

Conditions of
Release

Offenses of
Conviction

Sentence

 

—Random searches of
person, residence, and
property by Pretrial
and/or any law
enforcement officers
accompanying them

—Special conditions
related to child
pornography charges—
including not possessing
any computer

 

 

Robert Birchum

 

 

MDF
23-cr-00032

 

- Unlawful
retention of
national defense
information 18
U.S.C. § 793(e)

 

- NSA documents
relating to national
defense that discuss
NSA capabilities and

methods of collection

 

 

- Report by phone
every Tuesday no
later than 4:00pm
to US Pretrials
Service.

- Surrender Passport

- Not travel outside
MDF

- Submit Mental
Health Eval

- Not use, posess or
own firearms,
weapons or
destructive devices
and shall not
purchase any new
firearms,
dangerous
weapons or
destructive
devices.

 

- Unlawful
retention of
national defense
information 18
U.S.C. § 793(e)

 

Continued to
6/1/23

 

 
